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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:19-CR-00190-NONE
11
                                   Plaintiff,            STIPULATION REGARDING EXCLUDABLE
12                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           FINDINGS AND ORDER
13
     ALEJANDRO MOLINA SANCHEZ,                           DATE: January 22, 2021
14                                                       TIME:
                                  Defendant.             COURT: Hon. Dale A. Drozd
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            This case is set for Sentencing on January 22, 2021. The parties need additional time to prepare
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     for sentencing and request a continuance in order to do so. Additionally, on May 13, 2020, this Court
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     issued General Order 618, which suspends all jury trials in the Eastern District of California “until
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     further notice.” Further, pursuant to General Order 611, this Court’s declaration of judicial emergency
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     under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s Order of April 16, 2020 continuing this
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     Court’s judicial emergency, this Court has allowed district judges to continue all criminal matters to a
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     date after May 2, 2021.1 This and previous General Orders, as well as the declarations of judicial
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     emergency, were entered to address public health concerns related to COVID-19.
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            Although the General Orders and declarations of emergency address the district-wide health
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     concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision
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            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
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28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 2 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 3 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such

 4 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 5 (9th Cir. 2000) (explaining that a judge ordering an ends-of-justice continuance must set forth explicit

 6 findings on the record “either orally or in writing”).

 7          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 8 and inexcusable—General Orders 611, 612, 617, and 618 and the subsequent declaration of judicial

 9 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the
10 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

11 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

12 § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of

13 the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

14 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

15          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

16 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

17 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

18 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

19 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

20 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.
21 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

22 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

23 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

24 by the statutory rules.

25          In light of the societal context created by the foregoing, this Court should consider the following

26 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
27 justice exception, § 3161(h)(7) (Local Code T4). 2 If continued, this Court should designate a new date

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              The parties note that General Order 612 acknowledges that a district judge may make
     “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
       STIPULATION REGARDING EXCLUDABLE TIME              2
30     PERIODS UNDER SPEEDY TRIAL ACT
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 1 for the Sentencing. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial

 2 continuance must be “specifically limited in time”).

 3                                                 STIPULATION

 4           Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 5 through defendant’s counsel of record, hereby stipulate as follows:

 6           1.     By previous order, this matter was set for sentencing on January 22, 2021.

 7           2.     By this stipulation, defendant now moves to continue the sentencing until February 26,

 8 2021, and to exclude time between January 22, 2021, and February 26, 2021, under 18 U.S.C.

 9 § 3161(h)(7)(A), B(iv) [Local Code T4].
10           3.     The parties agree and stipulate, and request that the Court find the following:

11                  a)       Based on the above-stated findings, the ends of justice served by continuing the

12           case as requested outweigh the interest of the public and the defendant in a trial within the

13           original date prescribed by the Speedy Trial Act.

14                  b)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15           et seq., within which trial must commence, the time period of January 22, 2021 to February 26,

16           2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

17           T4] because it results from a continuance granted by the Court at defendant’s request on the basis

18           of the Court’s finding that the ends of justice served by taking such action outweigh the best

19           interest of the public and the defendant in a speedy trial.

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     Cal. March 18, 2020).
        STIPULATION REGARDING EXCLUDABLE TIME              3
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 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: January 7, 2021                                  MCGREGOR W. SCOTT
 7                                                           United States Attorney
 8
                                                             /s/ STEPHANIE M. STOKMAN
 9                                                           STEPHANIE M. STOKMAN
                                                             Assistant United States Attorney
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11
     Dated: January 7, 2021                                  /s/ ALONZO GRADFORD
12                                                           ALONZO GRADFORD
13                                                           Counsel for Defendant
                                                             Alejandro Molina Sanchez
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                                           FINDINGS AND ORDER
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     IT IS SO ORDERED.
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        Dated:    January 7, 2021
20                                                    UNITED STATES DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME              4
30    PERIODS UNDER SPEEDY TRIAL ACT
